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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
              DEFENDANT.                   )
__________________________________________)


           NOTICE OF SUPPLEMENTAL AUTHORITY
———————————————————————————————————————


       Defendant hereby notifies the Court of recent supplemental authority from the United

States Court of Appeals for the District of Columbia Circuit in support of Defendant’s Motion to

Dismiss Count Two of the Indictment, ECF No. 37, in which defendant moved to dismiss a count

of Obstruction of Congress under 18 U.S.C. § 1512(c)(2), and ECF No. 38, in which defendant

moved for abeyance or continuance to await resolution of the appellate matter that directly

impacts his case.



UNITED STATES V. FISCHER DECISIONS

       In United States v. Fischer, No. 22-3038 (D.C. Cir. Apr. 7, 2023), a three-judge panel of

the D.C. Circuit Court of Appeals issued a fractured opinion on the scope of 18 U.S.C. § 1512(c)

(2). What is supposed to be the majority opinion, titled “Opinion for the Court,” written by Judge

Pan, at first glance, appears to be supported by Judge Walker— that is, until Judge Walker's

Concurring Opinion makes it clear that his entire concurrence is expressly conditional on a single


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issue: his decisive definition of “corruptly” — one that Judge Pan’s opinion does not agree to;

and, Judge Pan’s comments add to the uncertainty of any concurrence by making it clear that her

opinion is not at all based on the definition of “corruptly.” The resulting majority opinion in

United States v. Fischer is thus uncertain—obscured by the unusual concurrence and the astute

dissent. The opinion in Fischer makes it clear that 18 U.S.C. § 1512(c) is extremely complex.

       Judge Pan’s opinion holds, in summary, that Section 1512(c)(2) “appl[ies] to assaultive

conduct, committed in furtherance of an attempt to stop Congress from performing a

constitutionally required duty.” Fischer, *2 (Pan, F.). She reaches this conclusion through a

“broad interpretation of the statute— encompassing all forms of obstructive acts.” Id. at *12.

Judge Pan goes on to explain that “the sufficiency of the indictments in this case does not turn on

the precise definition of ‘corruptly.’” Id. at *18-19.

       Judge Walker joins Judge Pan in judgment and he concurs in part, he claims, but explains

that in order to concur with Judge Pan, his definition of “corruptly” must control, citing Marks v.

United States. Fischer, *22 (N.10) (Walker, J., concurring in part and concurring in judgment).

Judge Walker defined “corruptly” as requiring proof of “an intent to procure an unlawful

benefit”. Fischer, *13 (Walker, J., concurring).

       Thus, “corruptly” in § 1512(c) means to act “with an intent to procure an unlawful benefit
       either for [oneself] or for some other person.” Marinello v. United States, 138 S. Ct. 1101,
       1114 (2018) (Thomas, J., dissenting) (cleaned up). It “requires proof that the defendant
       not only knew he was obtaining an ‘unlawful benefit’ but that his ‘objective’ or ‘purpose’
       was to obtain that unlawful benefit.” Id. And that benefit may be unlawful either because
       the benefit itself is not allowed by law, or because it was obtained by unlawful means. Id.

Id.




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       In Footnote 10, on pages 22-23 of his [alleged] concurrence, Judge Walker explains the

complexity of his position, which is termed as a concurrence but does not in fact appear to be

one:

       In other words, my reading of “corruptly” is necessary to my vote to join the lead
       opinion’s proposed holding on “obstructs, influences, or impedes” an “official
       proceeding.” 18 U.S.C. § 1512(c)(2). If I did not read “corruptly” narrowly, I would
       join the dissenting opinion. That’s because giving “corruptly” its narrow, long-
       established meaning resolves otherwise compelling structural arguments for affirming the
       district court, as well as the Defendants’ vagueness concerns. See supra Sections III & IV.

       My reading of “corruptly” may also be controlling, at least if a future panel analyzes this
       splintered decision under Marks v. United States — the test for deciding the holding of a
       fractured Supreme Court judgment. 430 U.S. 188, 193 (1977); see also Binderup v.
       Attorney General, 836 F.3d 336, 356 (3d Cir. 2016) (en banc) (applying Marks to
       determine the “law of [the] Circuit”).

       Where, as here, “no single rationale explaining the result enjoys the assent of [a
       majority]” — and again, in my view, the rationale in the lead opinion is not enough to
       uphold the indictments — Marks says the court’s holding is the “position taken” by the
       judge “who concurred in the judgments on the narrowest grounds.” 430 U.S. at 193. The
       narrowest ground is a “logical subset of other, broader opinions.” King v. Palmer, 950
       F.2d 771, 781 (D.C. Cir. 1991). It is a “middle ground” that “produce[s] results that”
       accord with “a subset of the results” intended by each opinion. United States v. Duvall,
       740 F.3d 604, 610 (D.C. Cir. 2013) (Kavanaugh, J., concurring in denial of rehearing en
       banc).

       That describes my position here. I read (c)(2) to cover only some of the conceivable
       defendants the lead opinion might allow a court to convict. So my opinion is a “logical
       subset of [an]other, broader opinion[ ].” Id. (cleaned up). In contrast, the lead opinion
       suggests three plausible readings, including mine. Lead Op. 17-18. It then says the
       Defendants’ alleged conduct is sufficient “[u]nder all those formulations.” Id. (emphasis
       added). Though the lead opinion says elsewhere that it “takes no position on the exact
       meaning of ‘corruptly,’” it must take some position on it. Lead Op. 21 n.5. Without taking
       a position, the lead opinion could not conclude, as it does, that the indictments should be
       upheld.

       Put differently, if a defendant is guilty under my approach, he will be guilty under the
       lead opinion’s. But some of the defendants guilty under the lead opinion’s approach will
       not be guilty under my approach. Mine is the “position taken” by the panel member “who
       concurred in the judgment[] on the narrowest grounds.” Marks, 430 U.S. at 193.


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       That is not to say that a future panel will apply Marks to this decision. I express no
       opinion about whether it should. Cf. Richard M. Re, Beyond the Marks Rule, 132 Harv. L.
       Rev. 1942, 1944 (2019) (“the Marks rule has generated considerable confusion”). But a
       future panel will need some rule to decide the holding of today’s fractured decision, and
       the Marks rule would be an unsurprising choice. Id. (“‘the Marks rule’ . . . has been used
       with increusing regularity”).

       One last thing. To the extent it matters — and it doesn’t matter under Marks — the lead
       opinion and the dissent do not agree about (c)(2)’s mental state. Cf. Marks, 430 U.S. at
       193 (looking to the opinions of only those Justices “who concurred in the judgments on
       the narrowest grounds”). Rather, the dissent expressly rejects the lead opinion’s approach
       to “corruptly,” suggesting that it raises “vagueness and overbreadth concerns.” See
       Dissenting Op. 33.

Fischer, (N.10) (Walker, J., concurring in part and concurring in judgment) (emphasis added).

       Judge Walker repeats this sentiment throughout his opinion:


       •   “Though the district court did not reach the meaning of “corruptly,” we have no
           choice. As I will explain in Sections III and IV, my vote to uphold the indictments
           depends on it.” Fischer, (N.1) (Walker, J., concurring in part).

       •   “Because I read ‘corruptly’ as courts have read it for hundreds of years — and only
           because I read it that way — I concur in the Court's judgment.” Id. at *22.



       After clearly explaining the prerequisite condition under which he joins the lead opinion,

a condition that does not exist, and after he states that the lead opinion is not enough to uphold

the indictments, Judge Walker then bewilderingly and inappositely states, “I also join all but

Section I.C.1 and footnote 8 of the lead opinion.” Id. at *23. (Walker, J., concurring in part).

Judge Walker’s comment that “[i]f I did not read ‘corruptly’ narrowly, I would join the dissenting

opinion,” is even more puzzling, as Judge Katsas’ dissenting opinion is in direct contrast to

Judge Pan’s opinion on every element except for, maybe, obstruction.




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       As Judge Katsas’ insightful dissent summarizes, Judge Pan’s opinion boils down to

rendering Section 1512(c)(2) into a lone-standing “catchall” that “criminaliz[es] any act that

corruptly obstructs an official proceeding.” Fischer, *1 (Katsas, G., dissenting). Katsas’ dissent

takes the opposite view on the actus reus— 1512(c)(2) is limited by the preceding Section

1512(c)(1), by common English, and by the broader text and structure of section 1512. Judge

Katsas concludes that, “conduct alleged here violates many criminal statutes, but section 1512(c)

is not among them.” Fischer, *39 (Katsas, G., dissenting). Judges Katsas and Pan reach opposite

conclusions because they de ne the term “otherwise” in opposite ways. As a result, Judge

Walker’s statement that he “would join the dissenting opinion” but for his definition of

“corruptly” is inconsistent with the distinction between the Katsas and Pan opinions, which

hinges on the actus reus term “otherwise,” not on the mens rea term “corruptly”; and, the two

opinions reach opposite conclusions on whether the alleged conduct violates section 1512(c)(2).

Judge Walker’s “concurring” opinion thus creates irreparable ambiguity and render’s an

“Opinion of the Court” nonexistent in Fischer.


       Interestingly, in her response to Judge Walker, Judge Pan appears to concede that

there is no concurrence in this case, stating in Footnote 5 of her opinion:


       … the instant case is a poor vehicle for applying Marks. First, the concurring opinion’s
       attempt to establish its view as controlling must fail because a majority of the panel has
       expressly declined to endorse the concurrence’s definition of “corruptly.” See supra at
       17–21; Dissenting Op. at 36–37 (“The concurrence’s approach thus requires transplanting
       into section 1512(c)(2) a mens rea requirement that has been used so far only in tax
       law.”). Second, the concurrence’s definition is not one with which this opinion “must
       necessarily agree as a logical consequence of its own, broader position” because this
       opinion takes no position on the exact meaning of “corruptly.” King, 950 F.2d at 782
       (emphasis added). This opinion’s holding on “corruptly” is grounded in the mere
       sufficiency of the allegations in this particular case — it states only that the alleged

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       conduct of the three appellees is sufficient under any understanding of “corrupt”
       intent. See supra at 17–18, 21. By contrast, the concurring opinion goes further and
       affirmatively adopts a new test for “corrupt” intent that has not been requested by any
       party — that is not a “logical subset” of an opinion that expresses no preference for any
       definition of “corruptly.” See supra at 18; King, 950 F.2d at 781; cf. Abbas v. Foreign
       Pol’y Grp., LLC, 783 F.3d 1328, 1337 (D.C. Cir. 2015) (“[N]either opinion can be
       considered the Marks middle ground or narrowest opinion, as the four Justices in dissent
       simply did not address the issue.”).

United States v. Fischer, (N.5) (Pan, F.) (emphasis added).


       The dueling footnotes, Footnote 10 of Judge Walker’s opinion and Footnote 5 of

Judge Pan’s opinion, hold the key to understanding United States v. Fischer.*1


       Judge Walker states that, “my reading of ‘corruptly’ is necessary to my vote to join the

lead opinion’s proposed holding on ‘obstructs, influences, or impedes’ an ‘official proceeding,’”

while Judge Pan states that, “this opinion takes no position on the exact meaning of ‘corruptly’

… [t]his opinion’s holding on ‘corruptly’ is grounded in the mere sufficiency of the allegations

in this particular case…” — their disagreement dismantling the idea of a concurrence. The

concurrence, as a result, appears to be limited to only the judgment of the case at hand, one that

affects only three men: appellees Joseph Fischer, Edward Lang, and Garret Miller, and maybe

other very similarly situated defendants.


       What, then, is the opinion of the court in United States v. Fischer? Under what

circumstances is an indictment sufficient as a matter of law? These are difficult questions to

answer. As Judge Walker stated, “the lead opinion is not enough to uphold the indictments.” One

scenario appears to have received two votes from a panel of three Court of Appeals judges: when

1 I use the term “understanding” loosely, as we should all be wise enough to admit that a holding

in United States v. Fischer is everything but understandable.

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an assault on law enforcement is alleged to have been committed in furtherance of an

Obstruction of an Official Proceeding, this grouping of allegations, when indicted together,

renders a kosher indictment for Obstruction of Official Proceeding. This particular holding of

pairing offenses does not appear to be supported by the law, and Judge Katsas’ opinion holds the

explanation as to why. Nonetheless, this issue might not be necessary to dissect for the matter at

hand.


        In Mr. Warnagiris’ case, there is no evidence of him assaulting officers in order to

obstruct Congress. See ECF No. 45, 52. Instead, Mr. Warnagiris aids five police officers into the

building, getting them out of the chaotic atmosphere outside of those doors. See ECF No. 45 at

*3. And, later, when he is standing in front of officers, he tries to calm the crowd so they can hear

what the officers have to say. Id. at *3,4. The facts in this case do not reach the assault standard

that appears to be the basis of the Fischer decision. While the Government charged Mr.

Warnagiris under 18 U.S.C. § 111(a), the government has no facts of an assault. See ECF No. 45,

52. Accordingly, while the Government will attempt to pass off this case as one that fits into the

group of cases upheld by Fischer, any attempt to do so would be incongruent with the facts of

this case.


        The Fischer opinion provides no comprehensive guidance to trial courts on what to do in

a case like that of Mr. Warngairis, a case in which an assault was not committed in furtherance of

an allegation of Obstruction of an Official Proceeding.


        Nonetheless, there is an example in Judge Walker’s concurrence that may provide some

guidance for this case, though not directly on point:


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       To illustrate how ‘corruptly’ limits the reach of § 1512(c)(2), consider how it might apply
       to a hypothetical rioter on January 6th. This rioter joined the throng outside Congress
       because he was angry at the nation's elites. He saw the riot as an opportunity to display
       his bravado. Though likely guilty of other crimes, he did not act ‘corruptly’ under (c)(2)
       because he did not intend to procure a benefit by obstructing the Electoral College vote
       count.

United States v. Fischer, *15 (Walker, J., concurring in part).

       While not stating so explicitly, Judge Walker appears to describe disorderly or disruptive

conduct as a “display [of] bravado.” In his dissent, Katsas explains that only “conduct that

impairs the integrity or availability of evidence” can run afoul of this code section, as opposed to

disruption, or even assault. Fischer, *38 (Katsas, G., dissenting). As a result, it appears there are

two votes from a three-judge panel that would render nonviolent conduct that is otherwise

disruptive as insufficient as a matter of law to uphold a count of 18 U.S.C. § 1512(c)(2).

Moreover, considering Judge Walker’s statement in Footnote 10 that he agrees with Judge

Katsas’ reasoning and would join him but for the definition of corruptly, then there is further

indication that the conduct in the matter at hand is insufficient as a matter of law to withstand a

Motion to Dismiss.


       Inarguably, the three opinions of Fischer have created significant ambiguity and

uncertainty for a case like that of Mr. Warnagiris. Of course, the rule of lenity would have the

court to apply the defendant’s interpretation and yield a dismissal of the charge.




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STATUS OF THE FISCHER APPEAL


       On April 25, 2023, defendant Appellees filed a petition seeking a panel rehearing on

Fischer, because “no two opinions constitute a plurality on either of the dispositive legal issues:

Section 1512(c)(2)’s mens rea and actus rei elements.”. See Fischer, Document #1996380 at *6.

“Without satisfaction of the condition necessary for joinder of the lead opinion, Judge Walker

stated that he would join Judge Katsas’ dissenting opinion. That condition was not satisfied. The

Panel should therefore rehear the case to amend the opinions to reflect Judge Walker’s joinder

with Judge Katsas, that the Panel was equally divided, or that Judge Walker’s concurrence is the

holding of the Court.” Id. at *7 (internal citations omitted).


       The very next day, on April 26, the Court ordered the Government to file a response to

the defendants’ petition for panel rehearing within 15 days. See Fischer, Document #1996482.


       The status of the appeal, therefore, is still active. Defendant, accordingly, renews his

motion in ECF No. 38 for abeyance or for a further continuance to await a disposition of the

legal issues that directly impact his case.




STATUS OF THE WARNAGIRIS CASE


       Mr. Warnagiris’ case is still in the discovery phase. Just today, on April 27, 2023, the

Government provided the defense with 43 new videos and photos.




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CONCLUSION


       The defendant submits the new Fischer case law and status of the Fischer appeal in

support of his Motion to Dismiss Count Two of the Indictment, ECF No. 37, and in support of

his Motion for Abeyance or continuance, ECF No. 38.




                                              Respectfully submitted,
                                              By Counsel:

                                              /s/

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                        CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on April 27, 2023, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.

                                              /s/

                                              Marina Medvin, Esq.




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